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ntcclm (rev. 12/15)
                                        UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS


In Re:                                                        §
Matthew Dennis McNeil                                         §    Case No.: 20−42288−elm7
Melissa Ann McNeil                                            §    Chapter No.: 7
                                            Debtor(s)         §


                                             NOTICE TO FILE CLAIM
TO THE DEBTOR, CREDITORS AND OTHER PARTIES IN INTEREST:

        1. Notice was previously given that an order for the relief under the U.S. Bankruptcy Code had been entered on
           a petition filed by or against the above referenced debtor.
        2. The original notice states that there were no apparent assets and the creditors should not file proofs of claim.
           However, assets have now been recovered from which it appears that payment to creditors may be possible.
           Accordingly, March 1, 2021 is fixed as the last day for filing proofs of claim. Governmental units should
           refer to 11 USC section 502(b)(9) to determine the last day for filing a proof of claim.
        3. A creditor must now file a proof of claim within the time limit in order to share in any distribution from the
           estate, except as provided in 11 U.S.C Section 501(c). A proof of claim must conform substantially to
           Official Form 410. A Proof of Claim form ("Official Form 410") can be filed online at the Bankruptcy
           Court's Website: (http://www.txnb.uscourts.gov) or at any bankruptcy clerk's office. It is necessary to file a
           claim even if the debtor has scheduled you correctly as a creditor on the lists filed with the Court. If you have
           previously filed a proof of claim in this case, this notice does not require you to refile your claim. To receive
           acknowledgement of receipt by the clerk, enclose a copy of the claim and an adequate sized self−addressed
           stamped envelope.
        4. Claims must be filed with the:

                      U.S. Bankruptcy Court 501 W. Tenth Street
                      Fort Worth, TX 76102

FILE YOUR CLAIM ONLINE

The United States Bankruptcy Court for the Northern District of Texas now accepts claims in all cases electronically
via the Online Claim Filing System. The Court strongly encourages e−Filing your Proof of Claim.

E−filing is fast, free and does not require a login or password.

To learn more and begin filing your Proof of Claim, please visit our website at:
http://www.txnb.uscourts.gov

CLAIMS ADDRESSED OR SENT TO THE DEBTOR, TRUSTEE, OR UNITED STATES TRUSTEE WILL NOT
BE FILED.



DATED: 12/2/20                                     FOR THE COURT:
                                                   Robert P. Colwell, Clerk of Court

                                                   by: /s/Chris Tello, Deputy Clerk
Trustee: Roddrick Breon Newhouse
